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                     UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA


ZHI FANG ZHU,                                 )
                                              )
                                              ) CIVIL ACTION NO.
                                              )
                             Plaintiff,       )
               v.                             ) JURY TRIAL DEMANDED
                                              )
HENKEL CORPORATION, HENKEL                    )
NORTH AMERICA CONSUMER                        )
GOODS, INC., HENKEL OF AMERICA,               )
INC., SCHWARZKOPF, INC., AND                  )
HENKEL AG & COMPANY, KGaA,                    )
JOHN DOES 1-20,                               )
                                              )
                             Defendants.      )
                                              )


                                          COMPLAINT

       Plaintiff, by and through their undersigned counsel, bring this action against HENKEL

CORPORATION, HENKEL NORTH AMERICA CONSUMER GOODS, INC, HENKEL OF

AMERICA, INC., SHWARZKOPF, INC., HENKEL AG & COMPANY, KGaA and JOHN

DOES 1-20, (collectively referred to as “Defendants”) and alleges as follows:

                                NATURE OF THE ACTION

       1.      This is an action for damages suffered by the Plaintiff as a direct and proximate

result of the Defendants’ negligent and wrongful conduct in connection with the design,

development, manufacture, testing, packaging, promoting, marketing, distribution, labeling,

and/or sale of the hair care products and hair dyes known as Schwarzkopf Keratin Color.

       2.      Schwarzkopf Professional Quality Keratin Color hair care products and dyes are

manufactured, marketed and/or sold by the Defendants.

       3.      At all times relevant hereto, Schwarzkopf Professional Quality Keratin Color hair

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care was designed, developed, manufactured, tested, packaged, promoted, marketed, distributed,

labeled, and/or sold by the Defendants HENKEL CORPORATION, HENKEL NORTH

AMERICA, HENKEL CONSUMER GOODS, INC., SCHWARZKOPF, INC. and HENKEL

AG & COMPANY, KGaA,

                                          PARTIES

        1.      At all times relevant hereto, Plaintiff ZHI FANG ZHU was and has been a

resident and citizen of the Commonwealth of Pennsylvania.

        2.      HENKEL CORPORATION (“HENKEL”) is a Delaware Corporation, which has

its principal place of business at One Henkel Way, Rocky Hill, CT 06067.

        3.      HENKEL CORPIRATION is a wholly owned subsidiary of HENKEL AG &

COMPANY, KGaA.

        4.      HENKEL NORTH AMERICA CONSUMER GOODS, INC. d/b/a Schwarzkopf

(“HENKEL CONSUMER GOODS”) is a Delaware corporation, which has its principal place of

business at One Henkel Way, Rocky Hill, CT 06067.

        5.      HENKEL CONSUMER GOODS is a wholly owned subsidiary of HENKEL AG

& COMPANY, KGaA.

        6.      HENKEL OF AMERICA INC. (“HENKEL USA”) is a Delaware corporation,

which has its principal place of business at One Henkel Way, Rocky Hill, CT 06067.

        7.      HENKEL USA is a wholly owned subsidiary of HENKEL AG & COMPANY,

KGaA.

        8.      SCHWARZKOPF, INC. (“SCHWARZKOPF”) is a California corporation, which

has its principal place of business at 19001 North Scottsdale Road, Scottsdale, AZ 85255.

        9.      SCHWARZKOPF, INC. is a wholly owned subsidiary of HENKEL AG &



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COMPANY, KGaA.           SCHWARZKOPF conducts business as one of the numerous brands of

consumer products that are designed, manufactured, and disseminated by HENKEL

CONSUMER GOODS and HENKEL AG & COMPANY, KGaA. SCHWARZKOPF’s focus is

on the Henkel companies’ line of hair care and hair coloring products.

        10.      HENKEL AG & COMPANY, KGaA, (“HENKEL AG”) is a German business

entity with its principal place of business located at Henkel AG & Co. KGaA, 40191 Düsseldorf

Germany.

        11.      HENKEL AG is the parent company of HENKEL, HENKEL USA, and

HENKEL COSUMER GOODS.

        12.      JOHN DOES 1-20 are persons or entities whose names are presently unknown to

Plaintiff but who may be liable to Plaintiff for the injuries and resulting damages plead herein.

        13.      HENKEL, HENKEL USA, HENKEL COSUMER GOODS, SCHWARZKOPF,

INC. and HENKEL AG (collectively, the “Henkel Defendants”) have purposefully conducted

business and derived substantial revenue from Pennsylvania, including marketing, disseminating

and selling their Schwarzkopf Professional Quality Keratin Color product in Pennsylvania, to

individuals like the Plaintiff.

        14.      HENKEL, HENKEL USA, HENKEL COSUMER GOODS, SCHWARZKOPF,

INC. and HENKEL AG have derived substantial revenue from goods and products disseminated

and used in the State of Pennsylvania, including the Schwarzkopf Professional Quality Keratin

Color product.

        15.      HENKEL, HENKEL USA, HENKEL COSUMER GOODS, SCHWARZKOPF,

INC. and HENKEL AG purposefully placed the Schwarzkopf Professional Quality Keratin Color

product into the stream of commerce and should have reasonably expected their acts to have



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consequences within the Commonwealth of Pennsylvania.

        16.     HENKEL, HENKEL USA, HENKEL COSUMER GOODS, SCHWARZKOPF,

INC. and HENKEL AG continuously conducted business in the Commonwealth of Pennsylvania

at all times relevant herein.

        17.     The Henkel Defendants promoted, designed, manufactured, and sold the

Schwarzkopf Professional Quality Keratin Color hair care products in the Commonwealth of

Pennsylvania. Plaintiff purchased the Schwarzkopf Professional Quality Keratin Color hair care

products in the Commonwealth of Pennsylvania, used the product in the Commonwealth of

Pennsylvania, was injured in the Commonwealth of Pennsylvania and received medical

treatment in the Commonwealth of Pennsylvania and this federal judicial district.

        18.     The Henkel defendants purposefully availed themselves of the benefits of

conducting business in the Commonwealth of Pennsylvania by designing the Schwarzkopf

Professional Quality Keratin Color hair care product and marketing, promoting, and selling the

Schwarzkopf Professional Quality Keratin Color hair care product to individuals such as the

Plaintiff.

        19.     HENKEL, HENKEL USA, and HENKEL COSUMER GOODS and HENKEL

AG expected or should have expected their acts to have consequences within the Commonwealth

of Pennsylvania and derived substantial revenue from interstate commerce.

        20.     At all relevant times, HENKEL, HENKEL USA, and HENKEL COSUMER

GOODS are and have been registered with the Pennsylvania Secretary of State to conduct

business in Pennsylvania as foreign business corporations.

                                JURISDICTION AND VENUE

        21.     This Court has personal jurisdiction over the Defendants based on Diversity of



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Citizenship pursuant to 28 U.S.C. Section 1332(a)(1), and the amount in controversy is well in

excess of the jurisdictional limit of $75,000.

        22.      Additionally, this Court has personal jurisdiction over the foreign Defendants due

to their registration, behavior and conducting of business in the Commonwealth of Pennsylvania,

including, but not limited to, designing, manufacturing, marketing, selling, and placing into the

stream of commerce the Schwarzkopf Professional Quality Keratin Color hair care product.

        23.      Jurisdiction over the foreign Defendants comports with the Due Process Clause

requirements. Plaintiff’s claims arise out of or relate to at least one of the Defendant’s contacts

with the forum, the Defendant purposefully availed itself of the forum, and exercising

jurisdiction over the foreign Defendants does not violate traditional notions of fair play and

substantial justice.

        24.      This Court has supplemental jurisdiction over the remaining common law and

state claims pursuant to 28 U.S.C. § 1367.

        25.      Venue is proper pursuant to 28 U.S.C. § 1391 because the claims made in this

case, such as Plaintiff’s purchase and use of the Schwarzkopf Professional Quality Keratin Color

product, as well as Plaintiff’s injury and treatment of that injury, occurred in this district.

        26.      At all relevant times, Plaintiff resided in the Commonwealth of Pennsylvania and

this judicial district.

                     FACTUAL ALLEGATIONS
  DEFENDANTS’ PRODUCTION AND SALE OF SCHWARZKOPF PROFESSIONAL
       QUALITY KERATIN COLOR HAIR CARE AND DYE PRODUCTS

        23.      Defendants worked together for the unified purpose of developing, designing,

formulating, manufacturing, packaging, labeling, advertising, marketing, instructing on and

warning about, distributing and selling Schwarzkopf Professional Quality Keratin Color hair care



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and dye products at issue here.

        24.     Defendants developed, designed, formulated, manufactured, packaged, labeled,

advertised, marketed, instructed on and warned about, distributed and sold Schwarzkopf

Professional Quality Keratin Color hair care and dye products at issue here.

        25.     Schwarzkopf Professional Quality Keratin Color is a cosmetic hair care dye

intended to alter an individual’s appearance and alter hair color available over-the-counter for

direct purchase by consumers, such as Plaintiff herein.

        26.     Even if used as directed, Defendants failed to adequately warn against the

negative effects and risks associated with this product including, but not necessarily limited to,

long term usage and the cumulative effects of long term usage, all discussed elsewhere in this

Complaint.

        27.     Defendants knew or should have known that Schwarzkopf Professional Quality

Keratin Color products create an unnecessary risk of burns, scarring, allergic reactions,

anaphylactic shock, skin depigmentation, and other severe injuries with use including, but not

limited to, hair loss.

        28.     In omitting, concealing, and inadequately providing critical safety information

regarding the use of Schwarzkopf Professional Quality Keratin Color in order to induce its

purchase and use, Defendants engaged in and continue to engage in conduct likely to mislead

consumers, including Plaintiff, and upon which consumers, including Plaintiff, detrimentally

relied. This conduct is fraudulent, unfair, and unlawful.

        29.     Defendants also knew or should have known that there is a substantial likelihood

of serious bodily injury when using Schwarzkopf Professional Quality Keratin Color.

        30.     Instead, Defendants represented that their product was safe and effective when



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used as directed, even though Defendants knew or should have known that their allergy test

instruction was flawed, contradictory, confusing and ineffective.

       31.     Defendants also failed to warn or disclose to consumers and the public in general

that Asian Americans are more than two times as likely to have a severe reaction to their

products as other consumers.

       32.     Defendants’ warning label for Schwarzkopf Professional Quality Keratin Color

inadequately addresses and warns of potential adverse health risk associated with the use of the

product, as set forth in this Complaint. Even when such risks are mentioned, they are minimized,

downplayed, and/or contradicted, further reducing the utility, if any, of the products’ warnings.

       33.     Defendants actively marketed Schwarzkopf Professional Quality Keratin Color to

consumers knowing that it would cause serious and severe reactions to consumers and failed to

warn or disclose this fact to consumers and the public in general, and Plaintiff in particular, who

relied upon Defendants representations that the product was safe when used as directed.

       34.     Defendants have an internal claims process in place to obtain liability releases and

compensate consumers who are injured by Schwarzkopf Professional Quality Keratin Color

products.

       35.     Defendants’ claim process is in place to cover up any problems associated with

their Schwarzkopf Professional Quality Keratin Color products and prevent consumers who are

injured from taking legal action.

       36.     Plaintiff is unaware of a single clinical trial or study performed by Defendants

related to the injury rate and/or safety of any of their Schwarzkopf Professional Quality Keratin

Color products.

       37.     Defendants have a duty to monitor the safety of their products and it is reasonable



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for them to conduct multiple clinical trials and/or studies related to the safety of their

Schwarzkopf Professional Quality Keratin Color products; however, they have failed to do so.

        38.     Defendants knew or should have known of the high number of adverse reactions

and injuries related to their Schwarzkopf Professional Quality Keratin Color products from a

multitude of sources, including but not limited to their internal claims process, making their

failure to conduct any studies or clinical trials particularly egregious.

   PLAINTIFFS’ USE OF SCHWARZKOPF PROFESSIONAL QUALITY KERATIN
                              COLOR

       39.       Plaintiff ZHI FANG ZHU is and was at all times alleged herein a citizen of the

State of Pennsylvania and at all material times has resided in Mercer, PA. Plaintiff brings this

action in her individual capacity.

       40.       On or about May 2017, Plaintiff purchased and used the Schwarzkopf

Professional Quality Keratin Color – Cappuccino 4.0 product in a foreseeable manner and

consistent with instructions for use .

       41.       However, after using the product, the Plaintiff suffered burning and ultimately,

alopecia (hair loss).

       42.       This hair loss occurred approximately one week after Plaintiff used the product,

as directed, to color her hair.

       43.       Her alopecia was total, leaving her fully bald. This loss was extremely taxing to

the Plaintiff, and has caused her significant pain and suffering.

                           FIRST CAUSE OF ACTION
             STRICT PRODUCTS LIABILITY DEFECTIVE MANUFACTURING

        44.     Plaintiff incorporates by reference each and every paragraph of this Complaint as

if fully set forth herein and further alleges as follows:



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        45.     The Schwarzkopf Professional Quality Keratin Color manufactured, designed,

sold, distributed, supplied and/or placed in the stream of commerce by Defendants, was defective

in its manufacture and construction when it left the hands of Defendants in that it deviated from

product specifications posing a serious risk of injury.

        46.     As a direct and proximate result of Plaintiff’s use of the Schwarzkopf Professional

Quality Keratin Color as manufactured, designed, sold, supplied and introduced into the stream

of commerce by Defendants, Plaintiff suffered harm, damages and economic loss and will

continue to suffer such harm.

        47.     Upon information and belief, one or more “lots” and/or “batches” of Schwarzkopf

Professional Quality Keratin Color were defective in its manufacture and construction when it

left the hands of Defendants in that it deviated from product specifications posing a serious risk

of injury.

        48.     Upon information and belief, Plaintiff purchased and was injured by one or more

of the “lots” and/or “batches” of Schwarzkopf Professional Quality Keratin Color that was

defectively manufactured by Defendants.

        49.     Additional information concerning any defective manufacture is in the exclusive

custody and control of the Defendants.

        50.     As a direct and proximate result of the foregoing, Plaintiff is entitled to damages

pursuant to the common law and applicable state statutes. Further, Defendants’ actions and

omissions as identified in this Complaint constitute a flagrant disregard for human life.

        WHEREFORE, Plaintiff demands judgment in her favor and against Defendants in a sum

in excess of the jurisdictional requirement of this court; for costs herein incurred; and for such

other and further relief as this Court deems just and proper.



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                             SECOND CAUSE OF ACTION
                     STRICT PRODUCTS LIABILITY DESIGN DEFECT

        51.      Plaintiff incorporates by reference each and every paragraph of this Complaint as

if fully set forth herein and further alleges as follows:

        52.      Defendants are the manufacturers, designers, distributors, sellers, and/or suppliers

of hair care products and hair dyes including Schwarzkopf Professional Quality Keratin Color.

        53.      The Schwarzkopf Professional Quality Keratin Color manufactured and supplied

by Defendants was defective in design or formulation in that, when it left the hands of the

Defendants, the foreseeable risks of the product exceeded the benefits associated with its design

or formulation, or it was more dangerous than an ordinary consumer would expect.

        54.      The Schwarzkopf Professional Quality Keratin Color that Plaintiffs used had not

been materially altered or modified prior to their use.

        55.      The foreseeable risks associated with the design or formulation of Schwarzkopf

Professional Quality Keratin Color, include, but are not limited to, the fact that the design or

formulation of Schwarzkopf Professional Quality Keratin Color is more dangerous than a

reasonably prudent consumer would expect when used in an intended or reasonably foreseeable

manner.

        56.      Schwarzkopf Professional Quality Keratin Color is also defectively designed

because it contains the unreasonably dangerous ingredients, though there are reasonably safer, and

effective alternatives to hair dye.

        57.      Schwarzkopf Professional Quality Keratin Color is also defectively designed

because it causes an unreasonably high rate of adverse dermatological and other reactions in the

general populace.

        58.      Schwarzkopf Professional Quality Keratin Color is also defectively designed

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because the patch test selected by Defendants, and the method by which Defendants have chosen

to instruct users to conduct the patch test, is unreasonable, unsafe, unreliable, and ineffective,

       59.        Schwarzkopf Professional Quality Keratin Color is also defectively designed

because the patch test, and the method by which Defendants have chosen to instruct users to

conduct it, imposes unreasonable and unrealistic standards on users, greatly limiting the

effectiveness of the tests, if any. These problems include but are not limited to, the unreasonable

instruction to leave the tested area of skin uncovered and undisturbed, when the risk of

contamination is unreasonably high.

       60.        Schwarzkopf Professional Quality Keratin Color is also defectively designed

because its cautions and/or warnings are inadequate, as set forth in the Complaint, for the

following reasons, among others:

             a.   Schwarzkopf Professional Quality Keratin Color products fail to warn of the rates

                  of adverse reaction among the general population and among certain population

                  groups, such as Asian Americans;

             b.   Defendants minimize and downplay those risks associated with Schwarzkopf

                  Professional Quality Keratin Color hair dye that they chose to disclose;

             c.   Schwarzkopf Professional Quality Keratin Color products fail to advise its users

                  of the benefits of undergoing a patch test conducted by a medical professional;

             d.   Schwarzkopf Professional Quality Keratin Color products fail to display and

                  advise of the product’s risks, proper use, or need to conduct a patch test in

                  an effective and reasonable manner;

             e.   Schwarzkopf Professional Quality Keratin Color products fail to provide

                  adequate or reasonable instructions as to the use of the patch test included



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                   with the product; and

              f.   Schwarzkopf Professional Quality Keratin Color products fail to advise

                   users that the patch test, as Defendants have chosen to instruct users to

                   conduct it, of problems with reliability, sensitization, and effectiveness,

                   among others problems.

              g.   Schwarzkopf Professional Quality Keratin Color products contradicts its

                   instruction for a patch test by instructing not to apply the product to the skin.

              h.   Schwarzkopf Professional Quality Keratin Color products fail to instruct that

                   alopecia can occur more than 48 hours after using the product or performing

                   a patch test.

       61.         As a direct and proximate result of Plaintiff’s use of Schwarzkopf Professional

Quality Keratin Color as manufactured, designed, sold, supplied, marketed and introduced into

the stream of commerce by Defendants, Plaintiff suffered harm, damages and economic loss and

will continue to suffer such harm, damages and economic loss in the future.

       62.         As a direct and proximate result of the foregoing, Plaintiff is individually entitled

to damages pursuant to the common law and applicable state statutes. Further, Defendants’

actions and omissions as identified in this Complaint constitute a flagrant disregard for human life

and safety.

        WHEREFORE, Plaintiff demands judgment in her favor and against Defendants in a sum

in excess of the jurisdictional requirement of this court; for costs herein incurred; and for such

other and further relief as this Court deems just and proper.

                       THIRD CAUSE OF ACTION
    STRICT PRODUCTS LIABILTY – DEFECT DUE TO INADEQUATE WARNING

       63.         Plaintiff incorporates by reference each and every paragraph of this Complaint as

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if fully set forth herein and further alleges as follows:

        64.      The Schwarzkopf Professional Quality Keratin Color manufactured and supplied

by Defendants was defective due to inadequate warning or instruction because Defendants knew

or should have known that the product created significant risks of serious bodily harm to

consumers and they failed to adequately warn consumers and/or their health care providers of

such risks as follows:

              a. Defendants knew or, in the exercise of reasonable care, should have known that

                 hair care products and dyes such as Schwarzkopf Professional Quality Keratin

                 Color that are marketed to be used repeatedly as a cosmetic hair product present a

                 risk of severe reactions and permanent scarring and other adverse reactions in

                 large numbers;

              b. Defendants failed to provide the warning or instruction that a manufacturer

                 exercising reasonable care would have provided concerning the risk of injuries

                 from use and repeated use of Schwarzkopf Professional Quality Keratin Color, in

                 light of the likelihood that the product would cause the harm claimed by Plaintiffs

                 and in light of the likely seriousness of that harm.

        65.      Defendants, as manufacturers of Schwarzkopf Professional Quality Keratin Color,

are held to the level of knowledge of an expert in the field of that type of hair care product, and

had a duty to warn its consumers of the dangers associated with Schwarzkopf Professional

Quality Keratin Color and failed to do so.

        66.      Defendants failed to reasonably or adequately warn users of this risks of

Schwarzkopf Professional Quality Keratin Color for the following reasons, among others:

              a. Schwarzkopf Professional Quality Keratin Color products fail to warn of the rates



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                of adverse reaction among the general population and among certain population

                groups, such as Asian-Americans,

             b. Defendants minimize and downplay those risks associated with Schwarzkopf

                Professional Quality Keratin Color hair dye that they chose to disclose;

             c. Schwarzkopf Professional Quality Keratin Color products fail to warn at all about

                the potential risk of dry hair;

             d. Schwarzkopf Professional Quality Keratin Color products fail to warn at all about

                the potential risk of temporary and permanent alopecia,

             e. Schwarzkopf Professional Quality Keratin Color products fail to display and

                advise of the product’s risks, or proper use,

             f. Schwarzkopf Professional Quality Keratin Color products fail to provide

                adequate or reasonable instructions as to the use of the patch test included

                with the product; and

             g. Schwarzkopf Professional Quality Keratin Color products fail to advise

                users that the patch test, as Defendants have chosen to instruct users to

                conduct it, of problems with reliability, sensitization, and effectiveness,

                among others problems.

       67.      The Schwarzkopf Professional Quality Keratin Color manufactured and supplied

by Defendants was defective due to inadequate post-marketing warning or instruction because,

after Defendants knew or should have known of the risk of serious bodily harm, as set forth

herein, from the use of Schwarzkopf Professional Quality Keratin Color, Defendants failed to

provide an adequate warning to consumers of the product, knowing the product could cause

serious injury as set forth herein.



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       68.      Plaintiff read and followed the deficient instructions and directions that were

provided with Defendants Schwarzkopf Professional Quality Keratin Color products.

       69.      As a direct and proximate result of Plaintiffs’ use of Schwarzkopf Professional

Quality Keratin Color as manufactured, designed, sold, supplied, marketed and introduced into

the stream of commerce by Defendants, Plaintiff suffered harm, damages and economic loss and

will continue to suffer such harm, damages and economic loss in the future.

       70.      As a direct and proximate result of the foregoing, Plaintiffs are entitled to

damages pursuant to the common law and applicable state statutes. Further, Defendants’ actions

and omissions as identified in this Complaint constitute a flagrant disregard for human life.

        WHEREFORE, Plaintiff demands judgment in her favor and against Defendants in a sum

in excess of the jurisdictional requirement of this court; for costs herein incurred; and for such

other and further relief as this Court deems just and proper.

                       FOURTH CAUSE OF ACTION
        STRICT PRODUCTS LIABILTY DUE TO NON CONFORMANCE WITH
                           REPRESENTATIONS

       71.      Plaintiff incorporates by reference each and every paragraph of this Complaint as

if fully set forth herein and further alleges as follows:

       72.      As set forth in this Complaint, Defendants made multiple material representations

concerning the safety and effectiveness of Schwarzkopf Professional Quality Keratin Color hair

dye, and minimized and downplayed those risks they chose to disclose

       73.      The Schwarzkopf Professional Quality Keratin Color manufactured and supplied

by Defendants was defective in that, when it left the hands of Defendants, it did not conform to

representations made by Defendants concerning the product.




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       74.        These material misrepresentations made by Defendants are false as evidenced by

the extreme number of adverse reactions to their Schwarzkopf Professional Quality Keratin

Color products by consumers including but not limited to Plaintiffs.

       75.        As a direct and proximate result of Plaintiffs’ use of the Schwarzkopf Professional

Quality Keratin Color and their reliance on Defendants’ representations regarding the safety of

Schwarzkopf Professional Quality Keratin Color, Plaintiffs individually suffered harm, damages

and economic loss and will continue to suffer such harm, damages and economic loss in the

future.

       76.        As a direct and proximate result of the foregoing, Plaintiffs are individually

entitled to damages pursuant to the common law and applicable state statutes. Further,

Defendants’ actions and omissions as identified in this Complaint constitute a flagrant disregard

for human life.

          WHEREFORE, Plaintiff demands judgment in her favor and against Defendants in a sum

in excess of the jurisdictional requirement of this court; for costs herein incurred; and for such

other and further relief as this Court deems just and proper.

                                    FIFTH CAUSE OF ACTION
                                         NEGLIGENCE

       77.        Plaintiff incorporates by reference each and every paragraph of this Complaint as

if fully set forth herein and further alleges as follows:

          78.     Defendants had a duty to exercise reasonable care in the design, manufacture,

testing, marketing and distribution into the stream of commerce of Schwarzkopf Professional

Quality Keratin Color, including a duty to insure that Schwarzkopf Professional Quality

Keratin Color did not pose a significantly increased risk of injury to Plaintiffs and other

consumers.


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      79.      Defendants failed to exercise reasonable care in the design, manufacture,

testing, marketing and distribution into the stream of commerce of Schwarzkopf Professional

Quality Keratin Color. Defendants knew or should have known that hair dye that is marketed to

be used on a regular basis to improve cosmetic appearance presents a risk of severe injuries,

including burns, weeping, sores, oozing, scarring and other permanent skin reactions

therefore giving rise to pain and suffering, debilitation, and the need for medical treatment

including possible surgery and further complications, and therefore was not safe for use by

Plaintiffs or other consumers.

      80.      Defendants failed to exercise reasonable care in the manner and method by

which it warned users of the risks associated with use of Schwarzkopf Professional Quality

Keratin Color for the reasons set forth in this Complaint.

      81.      Defendants failed to exercise reasonable care in the patch test it chose to include

with this product, and further failed to exercise reasonable care in the instructions as to how to

conduct the patch test, all as set forth elsewhere in the Complaint.

      82.      Despite the fact that Defendants knew or should have known that Schwarzkopf

Professional Quality Keratin Color could cause severe reactions in consumers and therefore

giving rise to pain and suffering, debilitation, and the need for medical treatment including

possible surgery and further complications, Defendants continued to market Schwarzkopf

Professional Quality Keratin Color as a safe and effective hair dye

      83.      Despite the fact that Defendants knew or should have known that Schwarzkopf

Professional Quality Keratin Color could cause severe reactions in consumers and therefore

giving rise to pain and suffering, debilitation, and the need for medical treatment including

possible surgery and further complications, Defendants failed to use ordinary care in warning



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Plaintiffs and other consumers of this risk.

       84.      As a direct and proximate result of Defendants’ negligence, Plaintiffs have

suffered significant damages, including but not limited to physical injury, pain and suffering

and further treatment and will continue to suffer such damages in the future.

       85.      In taking the actions and omissions that caused these damages, Defendants were

guilty of malice, oppression and fraud.

        WHEREFORE, Plaintiffs demand judgment in her favor and against Defendants in a sum

in excess of the jurisdictional requirement of this court; for costs herein incurred; and for such

other and further relief as this Court deems just and proper.

                                SIXTH CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

       86.      Plaintiff incorporates by reference each and every paragraph of this Complaint as

if fully set forth herein and further alleges as follows:

       87.      Defendants expressly warranted that Schwarzkopf Professional Quality Keratin

Color was a safe and effective hair dye.

       88.      Defendants expressly warranted that their product is safe and effective and

that Schwarzkopf Professional Quality Keratin Color products “compliment your tone

giving you that luminous look in your skin, while the unique Keratin Complex system

cares & protects during and after coloring[.]”

       89.      Defendants also expressly warranted that the product would provide:

             a. “Fuller hair with up to 80 % less hair breakage”

             b. “Perfect shades that flatter your skin”

             c. “100% gray coverage with long lasting color fidelity;”

             d. “Low     odor    coloring    experience     thanks   to   the   Ammonia   Control


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                Technology[.]”

       90.      The Schwarzkopf Professional Quality Keratin Color manufactured and sold by

Defendants did not conform to these express representations because it caused serious injury to

the Plaintiff when used as recommended and directed.

       91.      As a direct and proximate result of Defendants’ breach of warranty, Plaintiffs

have suffered harm, damages and economic loss and will continue to suffer such harm, damages

and economic loss in the future.

        WHEREFORE, Plaintiff demands judgment in her favor and against Defendants in a sum

in excess of the jurisdictional requirement of this court; for costs herein incurred; and for such

other and further relief as this Court deems just and proper.

                               SEVENTH CAUSE OF ACTION
                             BREACH OF IMPLIED WARRANTY

       92.      Plaintiff incorporates by reference each and every paragraph of this Complaint as

if fully set forth herein and further alleges as follows:

       93.      At the time Defendants designed, manufactured, marketed, sold, and distributed

Schwarzkopf Professional Quality Keratin Color for use by Plaintiff, Defendants knew of the use

Schwarzkopf Professional Quality Keratin Color was intended for and impliedly warranted the

product to be of merchantable quality and safe for such use and that its design, manufacture,

labeling and marketing were sufficient.

       94.      Plaintiff reasonably relied upon the skill and judgment of Defendants as to

whether Schwarzkopf Professional Quality Keratin Color was of merchantable quality and safe

for its intended use and upon Defendants’ implied warranty as to such matters.

       95.      Contrary to such implied warranty, the Schwarzkopf Professional Quality Keratin

Color was not of merchantable quality or safe for its intended use, because the product was

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unreasonably dangerous and defective as described above.

       96.      As a direct and proximate result of Defendants’ breach of warranty, Plaintiff has

suffered harm, damages and economic loss and will continue to suffer such harm, damages and

economic loss in the future.

        WHEREFORE, Plaintiff demands judgment in her favor and against Defendants in a sum

in excess of the jurisdictional requirement of this court; for costs herein incurred; and for such

other and further relief as this Court deems just and proper.

                             EIGHTH CAUSE OF ACTION
                       NEGLIGENT REPRESENTATION AND FRAUD

       97.      Plaintiff incorporates by reference each and every paragraph of this Complaint as

if fully set forth herein and further alleges as follows:

       98.      As set forth in this Complaint, Defendants made multiple material representations

concerning the safety and effectiveness of Schwarzkopf Professional Quality Keratin Color hair

dye, and minimized and downplayed those risks they chose to disclose.

       99.      These material misrepresentations made by Defendants are false as evidenced by

the extreme number of adverse reactions to their Schwarzkopf Professional Quality Keratin

Color products by consumers including but not limited to Plaintiff.

       100.     When Defendants made these material representations, they knew that they were

false, and Defendants made the material representations recklessly without any knowledge of

their truth and a positive assertion.

       101.     Defendants had actual knowledge based upon studies, published reports and

clinical experience that its product, Schwarzkopf Professional Quality Keratin Color created an

unreasonable risk of serious bodily injury yet Defendants negligently misrepresented to Plaintiff

that its hair dyes were safe and met all applicable design and manufacturing requirements.


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       102.     Defendants made these false, material representations with the intention of

inducing buyers, including Plaintiff, to act by purchasing the Schwarzkopf Professional Quality

Keratin Color by appealing to the buyers’ desire to improve their appearance.

       103.     Plaintiff acted in justifiable reliance on these material representations made by the

Defendants in that she purchased Schwarzkopf Professional Quality Keratin Color specifically

under the belief that they would provide the claimed cosmetic benefits if used in the manner

directed by the labeling.

       104.     As a direct and proximate result of Defendants’ fraudulent and/or negligent

actions and omissions, Plaintiff used Schwarzkopf Professional Quality Keratin Color and

suffered harm, damages and economic loss and will continue to suffer such harm, damages and

economic loss in the future.

       105.     Defendants’ actions and omissions as identified in this Complaint demonstrate a

flagrant disregard for human life.

        WHEREFORE, Plaintiff demands judgment in her favor and against Defendants in a sum

in excess of the jurisdictional requirement of this court; for punitive damages, for costs herein

incurred; and for such other and further relief as this Court deems just and proper.

                           NINETH CAUSE OF ACTION
                   CONSUMER FRAUD 73 P.S. §§ 201‐1 –201‐9.2 ET SEQ.

       106.     Plaintiff incorporates by reference each and every paragraph of this Complaint as

if fully set forth herein and further alleges as follows:

        107.    The Pennsylvania's Unfair Trade Practices and Consumer Protection Law

 (UTPCPL) 73 P.S. §§ 201‐1 –201‐9.2, protects consumers, inter alia,              from advertising,

 offering for sale, sale or distribution of any services and any property, tangible or intangible,

 real, personal or mixed, and any other article, commodity, or thing of value wherever situate,


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 and includes any trade or commerce directly or indirectly affecting the people of the

 Commonwealth of Pennsylvania.

       108.    The UTPCPL provides, in part, that any person who purchases or leases goods or

services primarily for personal, family or household purposes and thereby suffers any

ascertainable loss of money or property, real or personal, as a result of the use or employment by

any person of a method, act or practice declared unlawful may bring a private action, to recover

actual damages and in addition, a court may award up to three times the actual damages

sustained, plus attorneys fees and costs and such additional relief as is necessary and proper.

       109.    The UTPCPL precludes, in part, any “fraudulent or deceptive conduct which

creates a likelihood of confusion or of misunderstanding.“

       110.    The UTPCPL precludes, in part, any representations that goods have

characteristics, ingredients, uses, benefits or quantities that they do not have.

       23.     The UTPCPL precludes, in part, any representations that goods or services are of

a particular standard, quality or grade, or that goods are of a particular style or model, if they are

of another.

       24.     Defendants’ conduct and product violated the UTPCPL as previously set forth,

including by multiple material representations concerning the safety and effectiveness of

Schwarzkopf Professional Quality Keratin Color hair dye, and minimized and downplayed those

risks they chose to disclose.

       25.     Defendants made these false, material representations with the intention of

inducing buyers, including Plaintiff, to act by purchasing the Schwarzkopf Professional Quality

Keratin Color by appealing to the buyers’ desire to improve their appearance.




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          26.    Plaintiff acted in justifiable reliance on these material representations made by the

Defendants in that she purchased Schwarzkopf Professional Quality Keratin Color specifically

under the belief that they would provide the claimed cosmetic benefits if used in the manner

directed by the labeling.

          27.    As the result of Defendants’ violation of the UTPCPL, Plaintiff suffered physical

and psychological personal injuries, including but not limited to alopecia, anxiety and

depression, and pecuniary losses.

          WHEREFORE, Plaintiff demands judgment in her favor and against Defendants in a

sum in excess of the jurisdictional requirement of this court, including treble damages, attorneys

fees and costs herein incurred; and for such other and further relief as this Court deems just and

proper.



                                         JURY DEMAND

          Plaintiff demands trial by jury on all of the triable issues with this Complaint.




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Respectfully submitted,

Dated: April 23, 2019

                                     _/s/_W. Steven Berman______________
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